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 8   Defendant PREMIER NUTRITION CORPORATION
     f/k/a JOINT JUICE, INC.
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12
     LUCY SCHUPP, individually and on behalf of    Case No. 3:17-cv-00054-RS
13   all others similarly situated,
                                                   Hon. Richard Seeborg
14
                    Plaintiff,                     PREMIER NUTRITION
15                                                 CORPORATION’S ANSWER TO
            v.                                     PLAINTIFF MARY TRUDEAU’S
16                                                 AMENDED COMPLAINT
     PREMIER NUTRITION CORPORATION
17   f/k/a JOINT JUICE, INC.                       CLASS ACTION

18                  Defendant.
                                                   Action Filed: January 5th, 2017
19
                                                   Jury Trial Demanded
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                                                           PREMIER NUTRITION CORPORATION’S
                                                        ANSWER TO PLAINTIFF MARY TRUDEAU’S
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 1          Defendant Premier Nutrition Corp. (“Premier”) answers the purported Class Action
 2   Amended Complaint of Plaintiff Mary Trudeau (“Plaintiff”) as follows. Unless otherwise
 3   expressly stated below, Premier denies each and every allegation of the Amended Complaint.
 4                                     NATURE OF THE ACTION
 5          1.      Paragraph 1 of Plaintiff’s Amended Complaint contains legal conclusions, and to
 6   that extent does not require an answer. To the extent that Paragraph 1 requires an answer,
 7   Premier admits that it sells the “Joint Juice” products (hereinafter the “Products”) as a dietary
 8   supplement to help maintain and support joint well-being, as limited by the disclaimer on the
 9   Products’ labeling and Joint Juice website and television advertising that states that the Products
10   “are not intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers
11   to Premier’s advertising, marketing, packaging, and/or Product labeling, that material speaks for
12   itself. Premier denies each and every other allegation in Paragraph 1 not specifically admitted.
13          2.      Answering Paragraph 2 of Plaintiff’s Amended Complaint, Premier admits that it
14   sells the Products as a dietary supplement to help maintain and support joint well-being, as
15   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
16   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent the
17   allegations in Paragraph 2 refer to Premier’s advertising, marketing, packaging, and/or Product
18   labeling, that material speaks for itself. Premier denies each and every other allegation in
19   Paragraph 2 not specifically admitted.
20          3.      Answering Paragraph 3 of Plaintiff’s Amended Complaint, Premier admits that it
21   sells the Products as a dietary supplement to help maintain and support joint well-being, as
22   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
23   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent the
24   allegations in Paragraph 3 refer to Premier’s advertising, marketing, packaging, and/or Product
25   labeling, that material speaks for itself. Premier denies each and every other allegation in
26   Paragraph 3 not specifically admitted.
27          4.      Answering Paragraph 4 of Plaintiff’s Amended Complaint, Premier admits that it
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1   sells the Products as a dietary supplement to help maintain and support joint well-being, as
 2   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
 3   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent the
 4   allegations in Paragraph 4 refer to Premier’s advertising, marketing, packaging, and/or Product
 5   labeling, that material speaks for itself. Premier denies each and every other allegation in
 6   Paragraph 4 not specifically admitted.
 7          5.      Paragraph 5 of Plaintiff’s Amended Complaint contains legal conclusions, and to
 8   that extent does not require an answer. Premier admits that it has sold over $100 million dollars
 9   of the Products in the past nine years. Premier denies each and every other allegation in
10   Paragraph 5 not specifically admitted.
11          6.      Paragraph 6 of Plaintiff’s Amended Complaint contains legal conclusions, and to
12   that extent does not require an answer. To the extent that Paragraph 6 requires an answer,
13   Premier denies each of the allegations contained in Paragraph 6.
14          7.      Paragraph 7 of Plaintiff’s Amended Complaint contains legal conclusions, and to
15   that extent does not require an answer. To the extent that Paragraph 7 requires an answer,
16   Premier denies each of the allegations contained in Paragraph 7.
17                                   JURISDICTION AND VENUE
18          8.      Paragraph 8 of Plaintiff’s Amended Complaint contains legal conclusions, and to
19   that extent does not require an answer.
20          9.      Paragraph 9 of Plaintiff’s Amended Complaint contains legal conclusions, and to
21   that extent does not require an answer. To the extent that Paragraph 9 requires an answer,
22   Premier admits that it has marketed, promoted, distributed, and sold the Products in California.
23          10.     Paragraph 10 of Plaintiff’s Amended Complaint contains legal conclusions, and
24   to that extent does not require an answer. To the extent that Paragraph 10 requires an answer,
25   Premier admits that it conducts business and is headquartered in the District.
26          11.     Paragraph 11 of Plaintiff’s Amended Complaint contains legal conclusions, and
27   to that extent does not require an answer. To the extent that Paragraph 11 requires an answer,
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1   Premier admits that it is currently headquartered in Emeryville, California, which is in Alameda
 2   County.
 3                                               PARTIES
 4   Plaintiff
 5          12.     Answering Paragraph 12 of Plaintiff’s Amended Complaint, Premier lacks
 6   sufficient knowledge or information to form a belief as to where Ms. Trudeau resides, her state
 7   of citizenship, whether she in fact purchased the referenced Product, her belief regarding the
 8   Product or its related advertisements and labeling, and her reasons for allegedly purchasing the
 9   Product; on that basis, Premier denies these allegations in Paragraph 12. To the extent
10   Paragraph 12 refers to the labels on the Product, the labels speak to themselves. Premier denies
11   each and every other allegation in Paragraph 12.
12          13.     Answering Paragraph 13 of Plaintiff’s Amended Complaint, Premier lacks
13   sufficient knowledge or information to form a belief as to Ms. Trudeau’s beliefs regarding the
14   Product or its related advertisement and labeling, and her reasons for allegedly purchasing the
15   Product; on that basis, Premier denies these allegations in Paragraph 13. Premier denies each
16   and every other allegation in Paragraph 13.
17   Defendant
18          14.     Answering Paragraph 14 of Plaintiff’s Amended Complaint, Premier admits that
19   it is a Delaware corporation. Premier admits that it is headquartered at 1222 67th Street, Suite
20   210, Emeryville, California, 94608. Premier admits that it was previously headquartered at 5905
21   Christie Avenue, Emeryville, California, 94608. Premier admits that, as of August 2013, it
22   became a wholly owned subsidiary of Post Holdings, Inc. Premier admits that it is a
23   manufacturer of high-protein nutrition products, including ready-to-drink shakes, bars, powders,
24   and cookies. Premier admits that it has manufactured, advertised, marketed, distributed, and/or
25   sold the referenced Products throughout the United States, including its website. Premier admits
26   that its Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, research and
27   development personnel, and customer service personnel have been located in California,
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1   however, not all marketing or sales employees have been located in California. Premier admits
 2   that its advertising agency was located in San Francisco. The term “retail distribution vendor” is
 3   vague and ambiguous, and therefore Premier lacks sufficient knowledge or information to admit
 4   or deny the allegations regarding its “retail distribution vendor.” Premier denies each and every
 5   other allegation in Paragraph 14.
 6          15.     Answering Paragraph 15 of Plaintiff’s Amended Complaint, Premier admits that
 7   Joint Juice was formerly a California corporation headquartered at 120 Howard Street, Suite
 8   600, San Francisco, California 94105. Premier admits that it was formerly known as Joint Juice,
 9   Inc. and under that name it manufactured, advertised, marketed, distributed, and sold the
10   Products throughout the United States. Premier admits that the date of the acquisition described
11   in Paragraph 15 is accurate. Premier denies each and every other allegation in Paragraph 15.
12          16.     Answering Paragraph 16 of Plaintiff’s Amended Complaint, Premier admits that
13   the former CEO of Premier had worked out of San Francisco and that an advertising agency
14   used by Joint Juice was located in San Francisco; however, not all marketing employees have
15   been located in California. Premier admits that the current President of Premier works from
16   Emeryville. Premier admits that the Products were originally developed by Dr. Kevin Stone at
17   the Stone Clinic in San Francisco. Premier denies each and every other allegation in Paragraph
18   16.
19                                       FACTUAL ALLEGATIONS
20   The Joint Juice Products
21          17.     Answering Paragraph 17 of Plaintiff’s Amended Complaint, Premier denies that
22   it has distributed, marketed, and/or sold the Products since 1999.
23          18.     Answering Paragraph 18 of Plaintiff’s Amended Complaint, Premier admits that
24   the Products have been sold by the third-party retailers listed in Paragraph 18 and through its
25   website.
26          19.     Answering Paragraph 19 of Plaintiff’s Amended Complaint, Premier admits that
27   the Products have been sold as drink mix packets, eight-ounce beverage bottles, and “Easy
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                                                                PREMIER NUTRITION CORPORATION’S
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 1   Shot” bottles. However, the Products are often sold at discounts and retail prices have varied.
 2   Premier denies each and every allegation in Paragraph 19 not specifically admitted.
 3            20.     Answering Paragraph 20 of Plaintiff’s Amended Complaint, Premier admits that
 4   the Products contain 1,500 mg of glucosamine hydrochloride plus chondroitin. To the extent
 5   Paragraph 20 refers to the Product packaging, the packaging speaks for itself.
 6            21.     Answering Paragraph 21 of Plaintiff’s Amended Complaint, Premier admits that
 7   the allegations in Paragraph 21; however, glucosamine used in Premier’s Products has also been
 8   derived from vegetarian sources.
 9            22.     Answering Paragraph 22 of Plaintiff’s Amended Complaint, Premier admits that
10   some other glucosamine products contain glucosamine sulfate.
11            23.     Answering Paragraph 23 of Plaintiff’s Amended Complaint, Premier admits the
12   allegations in Paragraph 23.
13            24.     Answering Paragraph 24 of Plaintiff’s Amended Complaint, Premier denies that
14   glucosamine hydrochloride is always less expensive than glucosamine sulfate.
15            25.     Answering Paragraph 25 of Plaintiff’s Amended Complaint, to the extent
16   Paragraph 25 references a scientific study, the study speaks for itself. Premier lacks sufficient
17   knowledge or information to admit or deny each and every other allegation in Paragraph 25.
18            26.     Answering Paragraph 26 of Plaintiff’s Amended Complaint, Premier admits the
19   allegations in Paragraph 26.
                                                                                   1
20   Defendant’s False and Deceptive Advertising for the Joint Juice Products
21            27.     Answering Paragraph 27 of Plaintiff’s Amended Complaint, Premier admits that
22   it sells the Products as a dietary supplement to help maintain and support joint well-being, as
23   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
24   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent
25   Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling, that
26
     1
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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 1   material has varied over time and speaks for itself. Premier denies each and every other
 2   allegation in Paragraph 27 not specifically admitted.
 3          28.      Answering Paragraph 28 of Plaintiff’s Amended Complaint, Premier admits that
 4   glucosamine hydrochloride and chondroitin sulfate are active ingredients in the Products. To the
 5   extent Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling,
 6   that material speaks for itself. Premier denies each and every other allegation in Paragraph 28
 7   not specifically admitted.
 8          29.      Answering Paragraph 29 of Plaintiff’s Amended Complaint, Premier admits that
 9   it sells the Products as a dietary supplement to help maintain and support joint well-being, as
10   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
11   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent
12   Plaintiff refers to Premier’s advertising, marketing, packaging and/or Product labeling, that
13   material speaks for itself. Premier denies each and every other allegation in Paragraph 29 not
14   specifically admitted.
15          30.      Answering Paragraph 30 of Plaintiff’s Amended Complaint, to the extent the
16   allegations in Paragraph 30 refer to Premier’s advertising, marketing, packaging, and/or Product
17   labeling, that material speaks for itself. Premier denies each and every other allegation in
18   Paragraph 30.
19          31.      Answering Paragraph 31 of Plaintiff’s Amended Complaint, Premier admits that
20   it sells the Products as a dietary supplement to help maintain and support joint well-being, as
21   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
22   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent the
23   allegations in Paragraph 31 refer to Premier’s advertising, marketing, packaging, and/or Product
24   labeling, that material speaks for itself. Premier denies each and every other allegation in
25   Paragraph 31 not specifically admitted.
26          32.      Paragraph 32 of Plaintiff’s Amended Complaint contains legal conclusions, and
27   to that extent does not require an answer. To the extent the allegations in Paragraph 32 require
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 1   an answer, and to the extent the allegations refer to Premier’s advertising, marketing, packaging,
 2   and/or Product labeling, that material speaks for itself. To the extent the allegations in
 3   Paragraph 32 do not accurately reflect the above-mentioned material, Premier denies the
 4   allegations. Premier denies each and every other allegation in Paragraph 32 not specifically
 5   admitted.
 6          33.     To the extent the allegations in Paragraph 33 refer to any of Premier’s
 7   advertising, marketing, packaging, and/or Product labeling, including on its website, that
 8   material speaks for itself. Premier denies each and every other allegation in Paragraph 33.
 9          34.     Answering Paragraph 34 of Plaintiff’s Amended Complaint, Premier admits that
10   former professional football player Joe Montana was a spokesman for the Products. To the
11   extent the allegations in Paragraph 34 refer to Premier’s advertising, marketing, packaging,
12   and/or Product labeling, including Joe Montana’s statements for Premier’s television
13   commercial, that material speaks for itself. Premier denies each and every other allegation in
14   Paragraph 34 not specifically admitted.
15          35.     Answering Paragraph 35 of Plaintiff’s Amended Complaint, Premier admits that
16   Products’ packaging features the Arthritis Foundation Logo. To the extent the allegations in
17   Paragraph 35 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
18   material speaks for itself. Premier denies each and every other allegation in Paragraph 35 not
19   specifically admitted.
20          36.     To the extent the allegations in Paragraph 36 refer to Premier’s packaging,
21   advertising, marketing, and/or Product labeling, that material speaks for itself. Premier denies
22   each and every other allegation in Paragraph 36 not specifically admitted.
23          37.     Answering Paragraph 37 of Plaintiff’s Amended Complaint, Premier admits that
24   the pictures included in Plaintiff’s Amended Complaint appear to be accurate, partial
25   representations of the current packaging of certain Products.
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 1   Scientific Studies Confirm That Joint Juice Is Not Effective And Defendant’s Health Benefits
                                        2
 2   Message Is False And Deceptive
 3            38.     Answering Paragraph 38 of Plaintiff’s Amended Complaint, Premier denies the
 4   allegations in Paragraph 38.
 5            39.     Answering Paragraph 39 of Plaintiff’s Amended Complaint, Premier admits that
 6   Paragraph 39 accurately quotes the Reference Manual on Scientific Evidence. Premier denies
 7   that all meta-analysis studies have concluded that glucosamine and chondroitin do nothing.
 8   Premier denies each and every other allegation in Paragraph 39 not specifically admitted.
 9            40.     Without admitting that the study cited in Paragraph 40 of Plaintiff’s Amended
10   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 40
11   does not require an answer. However, to the extent the allegations in Paragraph 40 do not
12   accurately reflect the study, Premier denies the allegations.
13            41.     Without admitting that the study cited in Paragraph 41 of Plaintiff’s Amended
14   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 41
15   does not require an answer. However, to the extent the allegations in Paragraph 41 do not
16   accurately reflect the study, Premier denies the allegations.
17            42.     Without admitting that the study cited in Paragraph 42 of Plaintiff’s Amended
18   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 42
19   does not require an answer. However, to the extent the allegations in Paragraph 42 do not
20   accurately reflect the study, Premier denies the allegations.
21            43.     Without admitting that the study cited in Paragraph 43 of Plaintiff’s Amended
22   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 43
23   does not require an answer. However, to the extent the allegations in Paragraph 43 do not
24   accurately reflect the study, Premier denies the allegations.
25            44.     Answering Paragraph 44 of Plaintiff’s Amended Complaint, Plaintiff does not
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     2
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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 1   identify the studies on which she bases her allegations and accordingly, Premier lacks sufficient
 2   knowledge or information to form a belief as to those studies.
 3          45.     Without admitting that the study cited in Paragraph 45 of Plaintiff’s Amended
 4   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 45
 5   does not require an answer. However, to the extent the allegations in Paragraph 45 do not
 6   accurately reflect the study, Premier denies the allegations. Premier denies remaining
 7   allegations in Paragraph 45.
 8          46.     Without admitting that the studies cited in Paragraph 46 of Plaintiff’s Amended
 9   Complaint are relevant to this action, those studies speak for themselves and, on that basis,
10   Paragraph 46 does not require an answer. However, to the extent the allegations in Paragraph 46
11   do not accurately reflect those studies, Premier denies the allegations.
12          47.     Without admitting that the study cited in Paragraph 47 of Plaintiff’s Amended
13   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 47
14   does not require an answer. However, to the extent the allegations in Paragraph 47 do not
15   accurately reflect the study, Premier denies the allegations.
16          48.     Without admitting that the studies cited in Paragraph 48 of Plaintiff’s Amended
17   Complaint are relevant to this action, those studies speak for themselves and, on that basis,
18   Paragraph 48 does not require an answer. However, to the extent the allegations in Paragraph 48
19   do not accurately reflect the studies, Premier denies the allegations.
20          49.     Without admitting that the study cited in Paragraph 49 of Plaintiff’s Amended
21   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 49
22   does not require an answer. However, to the extent the allegations in Paragraph 49 do not
23   accurately reflect the study, Premier denies the allegations.
24          50.     Answering Paragraph 50 of Plaintiff’s Amended Complaint, Plaintiff does not
25   identify the studies on which she bases her allegations and accordingly, Premier lacks sufficient
26   knowledge or information to form a belief as to those studies.
27          51.     Answering Paragraph 51 of Plaintiff’s Amended Complaint, Plaintiff does not
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1   identify the studies on which she bases her allegations and accordingly, Premier lacks sufficient
 2   knowledge or information to form a belief as to those studies.
 3          52.     Without admitting that the study cited in Paragraph 52 of Plaintiff’s Amended
 4   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 52
 5   does not require an answer. However, to the extent the allegations in Paragraph 52 do not
 6   accurately reflect the study, Premier denies the allegations.
 7          53.     Without admitting that the study cited in Paragraph 53 of Plaintiff’s Amended
 8   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 53
 9   does not require an answer. However, to the extent the allegations in Paragraph 53 do not
10   accurately reflect the study, Premier denies the allegations.
11          54.     Answering Paragraph 54 of Plaintiff’s Amended Complaint, Premier denies that
12   there is uniform consensus that glucosamine and chondroitin do not work. Without admitting
13   that the guidelines cited in Paragraph 54 of Plaintiff’s Amended Complaint are relevant to this
14   action, the guidelines speak for themselves and, to that extent, Paragraph 54 does not require an
15   answer. However, to the extent the allegations in Paragraph 54 do not accurately reflect the
16   guidelines, Premier denies the allegations. Premier denies each and every other allegation not
17   specifically admitted.
18          55.     Without admitting that the studies and guidelines cited in Paragraph 55 of
19   Plaintiff’s Amended Complaint are relevant to this action, the studies and guidelines speak for
20   themselves and, on that basis, Paragraph 55 does not require an answer. However, to the extent
21   the allegations in Paragraph 55 do not accurately reflect the studies and guidelines, Premier
22   denies the allegations.
23          56.     Without admitting that the guidelines cited in Paragraph 56 of Plaintiff’s
24   Amended Complaint are relevant to this action, the guidelines speak for themselves and, on that
25   basis, Paragraph 56 does not require an answer. However, to the extent the allegations in
26   Paragraph 56 do not accurately reflect the guidelines, Premier denies the allegations.
27          57.     Without admitting that the guidelines cited in Paragraph 57 of Plaintiff’s
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 1   Amended Complaint are relevant to this action, the guidelines speak for themselves and, on that
 2   basis, Paragraph 57 does not require an answer. However, to the extent the allegations in
 3   Paragraph 57 do not accurately reflect the guidelines, Premier denies the allegations.
 4          58.     Without admitting that the study cited in Paragraph 58 of Plaintiff’s Amended
 5   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 58
 6   does not require an answer. However, to the extent the allegations in Paragraph 58 do not
 7   accurately reflect the study, Premier denies the allegations.
 8          59.     Without admitting that the study cited in Paragraph 59 of Plaintiff’s Amended
 9   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 59
10   does not require an answer. However, to the extent the allegations in Paragraph 59 do not
11   accurately reflect the study, Premier denies the allegations. Premier denies each and every other
12   allegation in Paragraph 59.
13          60.     Without admitting that the study cited in Paragraph 60 of Plaintiff’s Amended
14   Complaint is relevant to this action, that study speaks for itself and on that basis, Paragraph 60
15   does not require an answer. However, to the extent the allegations in Paragraph 60 do not
16   accurately reflect the study, Premier denies the allegations.
17          61.     Without admitting that the study cited in Paragraph 61 of Plaintiff’s Amended
18   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 61
19   does not require an answer. However, to the extent the allegations in Paragraph 61 do not
20   accurately reflect the study, Premier denies the allegations.
21          62.     Without admitting that the study cited in Paragraph 62 of Plaintiff’s Amended
22   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 62
23   does not require an answer. However, to the extent the allegations in Paragraph 62 do not
24   accurately reflect the study, Premier denies the allegations.
25          63.     Without admitting that the study cited in Paragraph 63 of Plaintiff’s Amended
26   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 63
27   does not require an answer. However, to the extent the allegations in Paragraph 63 do not
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 1   accurately reflect the study, Premier denies the allegations.
 2            64.     Without admitting that the study cited in Paragraph 64 of Plaintiff’s Amended
 3   Complaint is relevant to this action, that study speaks for itself and, on that basis, Paragraph 64
 4   does not require an answer. However, to the extent the allegations in Paragraph 64 do not
 5   accurately reflect the study, Premier denies the allegations.
                                                      3
 6   The Impact of Defendant’s Wrongful Conduct
 7            65.     Answering Paragraph 65 of Plaintiff’s Amended Complaint, Premier admits that
 8   it sells the Products as a dietary supplement to help maintain and support joint well-being, as
 9   limited by the disclaimer on the Products’ labeling and Joint Juice website that states that the
10   Products “are not intended to diagnose, treat, cure or prevent any disease.” To the extent
11   Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling, that
12   material has varied over time and speaks for itself. Premier denies each and every other
13   allegation in Paragraph 65 not specifically admitted.
14            66.     Answering Paragraph 66 of Plaintiff’s Amended Complaint, Paragraph 66
15   contains legal conclusions and to that extent does not require an answer.
16            67.     Answering Paragraph 67 of Plaintiff’s Amended Complaint, Premier denies each
17   of the allegations contained in Paragraph 67.
18            68.     Paragraph 68 of Plaintiff’s Amended Complaint contains legal conclusions, and
19   to that extent does not require an answer. To the extent that Paragraph 68 requires an answer,
20   Premier lacks sufficient knowledge or information to form a belief as to whether Ms. Trudeau
21   purchased the referenced Product, her belief regarding the Product or its related advertisement
22   or labeling, and her reasons for allegedly purchasing the product; on that basis, Premier denies
23   these allegations in Paragraph 68. Premier denies each and every other allegation in Paragraph
24   68.
25            69.     Answering Paragraph 69 of Plaintiff’s Amended Complaint, retail prices for the
26
     3
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1   Products have varied. Premier denies each and every other allegation in Paragraph 69.
 2                           CLASS DEFINITION AND ALLEGATIONS
 3          70.     Paragraph 70 of Plaintiff’s Amended Complaint contains legal conclusions, and
 4   to that extent does not require an answer. To the extent that Paragraph 70 requires an answer,
 5   Premier denies each of the allegations contained in Paragraph 70.
 6          71.     Paragraph 71 of Plaintiff’s Amended Complaint contains legal conclusions, and
 7   to that extent does not require an answer. To the extent that Paragraph 71 requires an answer,
 8   Premier denies each of the allegations contained in Paragraph 71.
 9          72.     Paragraph 72 of Plaintiff’s Amended Complaint contains legal conclusions, and
10   to that extent does not require an answer. To the extent that Paragraph 72 requires an answer,
11   Premier denies each of the allegations contained in Paragraph 72.
12          73.     Paragraph 73 of Plaintiff’s Amended Complaint contains legal conclusions, and
13   to that extent does not require an answer. To the extent that Paragraph 73 requires an answer,
14   Premier denies each of the allegations contained in Paragraph 73.
15          74.     Paragraph 74 of Plaintiff’s Amended Complaint contains legal conclusions, and
16   to that extent does not require an answer. To the extent that Paragraph 74 requires an answer,
17   Premier denies each of the allegations contained in Paragraph 74.
18          75.     Paragraph 75 of Plaintiff’s Amended Complaint contains legal conclusions, and
19   to that extent does not require an answer. To the extent that Paragraph 75 requires an answer,
20   Premier denies each of the allegations contained in Paragraph 75.
21          76.     Paragraph 76 of Plaintiff’s Amended Complaint contains legal conclusions, and
22   to that extent does not require an answer. To the extent that Paragraph 76 requires an answer,
23   Premier denies each of the allegations contained in Paragraph 76.
24          77.     Paragraph 77 of Plaintiff’s Amended Complaint contains legal conclusions, and
25   to that extent does not require an answer. To the extent that Paragraph 77 requires an answer,
26   Premier denies each of the allegations contained in Paragraph 77.
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                                                               PREMIER NUTRITION CORPORATION’S
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 2                                        CLAIMS ALLEGED
 3                                              COUNT I
 4                       Violation of Massachusetts’ Consumer Protection Act
 5                                  Mass. Gen. Laws 93A §1, et seq.
 6          78.     Answering Paragraph 78 of Plaintiff’s Amended Complaint, Premier
 7   incorporates by reference and repleads all of the admissions, denials, and allegations contained
 8   in Paragraphs 1-77 above.
 9          79.     Paragraph 79 of Plaintiff’s Amended Complaint contains legal conclusions, and
10   to that extent does not require an answer. To the extent that Paragraph 79 requires an answer,
11   Premier denies each of the allegations contained in Paragraph 79.
12          80.     Answering Paragraph 80 of Plaintiff’s Amended Complaint, Premier admits that
13   Paragraph 80 contains an accurate partial quote of Massachusetts General Laws, Chapter 93A,
14   Section 2.
15          81.     Paragraph 81 of Plaintiff’s Amended Complaint contains legal conclusions, and
16   to that extent does not require an answer. To the extent that Paragraph 81 requires an answer,
17   Premier denies each of the allegations contained in Paragraph 81.
18          82.     Paragraph 82 of Plaintiff’s Amended Complaint contains legal conclusions, and
19   to that extent does not require an answer. To the extent that Paragraph 82 requires an answer,
20   Premier denies each of the allegations contained in Paragraph 82.
21          83.     Paragraph 83 of Plaintiff’s Amended Complaint contains legal conclusions, and
22   to that extent does not require an answer. To the extent that Paragraph 83 requires an answer,
23   Premier denies each of the allegations contained in Paragraph 83.
24          84.     Paragraph 84 of Plaintiff’s Amended Complaint contains legal conclusions, and
25   to that extent does not require an answer. To the extent that Paragraph 84 requires an answer,
26   Premier denies each of the allegations contained in Paragraph 84.
27          85.     Paragraph 85 of Plaintiff’s Amended Complaint contains legal conclusions, and
28
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                                                               PREMIER NUTRITION CORPORATION’S
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 1   to that extent does not require an answer. To the extent that Paragraph 85 requires an answer,
 2   Premier denies each of the allegations contained in Paragraph 85.
 3             86.     Answering Paragraph 86 of Plaintiff’s Amended Complaint, Premier lacks
 4   information sufficient to form a belief as to whether Plaintiff sent a demand for relief letter as
 5   required of her by statute at least 30 days prior to filing Plaintiff’s complaint; on that basis,
 6   Premier denies the allegation in Paragraph 86.
 7                                               JURY DEMAND
 8             Premier respectfully makes a demand for a trial by jury on claims and issues so triable.
 9                                          REQUEST FOR RELIEF
10             Premier denies that Plaintiff is entitled to any of the relief sought in her Request for
11   Relief.
12                                        AFFIRMATIVE DEFENSES
13             Without assuming the burden of proof on any matters that would otherwise rest with
14   Plaintiff, and expressly denying any and all wrongdoing, Premier alleges the following
15   additional reasons why Plaintiff is not entitled to any relief:
16                                    FIRST AFFIRMATIVE DEFENSE
17                                       (Equitable Relief Unavailable)
18             Plaintiff is not entitled to equitable relief because, if Plaintiff is entitled to a remedy,
19   which Premier denies, Plaintiff has adequate legal remedies. No threat of immediate harm exists
20   sufficient to support a grant of injunctive relief.
21                                   SECOND AFFIRMATIVE DEFENSE
22                                          (Failure to State a Claim)
23             The Amended Complaint fails to state a claim against Premier on which relief can be
24   granted.
25                                    THIRD AFFIRMATIVE DEFENSE
26                                                 (No Standing)
27             Plaintiff is not entitled to relief under the statutes and legal theories invoked in her
28
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                                                                      PREMIER NUTRITION CORPORATION’S
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 1   Amended Complaint because plaintiff lacks standing.
 2                                 FOURTH AFFIRMATIVE DEFENSE
 3                                     (No Deceptive Act or Practice)
 4           Plaintiff’s claims are barred, in whole or in part, because there was no deceptive act or
 5   practice. Each and every representation and advertisement for the Products clearly and
 6   accurately portrayed the characteristics, ingredients, uses, benefits, quantities, standard, quality,
 7   and grade of the Products.
 8                                  FIFTH AFFIRMATIVE DEFENSE
 9                                         (No Intent to Deceive)
10           Plaintiff is precluded from recovery on her fraud- and misrepresentation-based claims
11   because the misrepresentations and actions alleged by Plaintiff were not intended to deceive
12   Plaintiff.
13                                  SIXTH AFFIRMATIVE DEFENSE
14                                     (Not Likely to Mislead Public)
15           None of Premier’s acts, conduct, omissions, or statements alleged in the Amended
16   Complaint were likely to mislead the public.
17                                 SEVENTH AFFIRMATIVE DEFENSE
18                                     (Lack of Justifiable Reliance)
19           Plaintiff’s claims are barred, in whole or in part, because Plaintiff knew, at all times, the
20   characteristics, ingredients, uses, benefits, quantities, standard, quality, and grade of the joint
21   Juice Products and therefore could not have justifiably relied on the alleged misrepresentation or
22   omissions asserted in her Amended Complaint.
23                                 EIGHTH AFFIRMATIVE DEFENSE
24                                        (Performance of Duties)
25           Premier has fully performed any and all contractual, statutory, and other duties, and
26   Plaintiff is therefore estopped from asserting any cause of action against Premier.
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                                                                  PREMIER NUTRITION CORPORATION’S
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 2                                  NINETH AFFIRMATIVE DEFENSE
 3                                        (Substantial Compliance)
 4            Premier has substantially complied with the requirements of the law as they pertain to
 5   this lawsuit and such substantial compliance bars Plaintiff’s claims.
 6                                  TENTH AFFIRMATIVE DEFENSE
 7                                              (Preemption)
 8            All or some of the alleged causes of action are preempted by federal law.
 9                                 ELEVENTH AFFIRMATIVE DEFENSE
10                                              (Safe Harbor)
11            Plaintiff’s allegations do not state a claim, because Premier’s conduct was, and is,
12   authorized by federal and state law.
13                                 TWELFTH AFFIRMATIVE DEFENSE
14                       (Actions Pursuant to Local, State or Federal Authority)
15            Premier is not liable for any acts or omissions undertaken by or at the direction of local,
16   state or federal authority, including, without limitation, acts or omissions made in accordance
17   with regulations, ordinances, statutes, and laws applicable at the time of the acts or omissions at
18   issue.
19                             THIRTEENTH AFFIRMATIVE DEFENSE
20                                          (Conduct Not Unfair)
21            The representations and advertising regarding the Products are not unfair. No
22   representation or advertisement contains any false or misleading statement or promises any
23   good not intended to be delivered. As such, the representations and advertising are not, and
24   were not, unfair.
25                             FOURTEENTH AFFIRMATIVE DEFENSE
26                                        (Conduct Not Unlawful)
27            The representations and advertising regarding the Products are not unlawful because
28
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                                                                  PREMIER NUTRITION CORPORATION’S
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 1   they are not, and were not, in violation of any law or regulation.
 2                             FIFTEENTH AFFIRMATIVE DEFENSE
 3                                            (Cause in Fact)
 4           No act or omission by Premier or by any person or entity for which Premier was
 5   responsible was the cause of any injury in fact, damages, or loss of money or property alleged
 6   by Plaintiff.
 7                             SIXTEENTH AFFIRMATIVE DEFENSE
 8                                        (No Proximate Cause)
 9           Plaintiff’s claims are barred, in whole or in part, because Premier has not engaged in any
10   activity or conduct that is a proximate cause of any injury in fact, damages, or loss of money or
11   property alleged by Plaintiff.
12                           SEVENTEENTH AFFIRMATIVE DEFENSE
13                                         (Superseding Causes)
14           Any and all violations alleged in Plaintiff’s Amended Complaint were the result of
15   superseding or intervening causes arising from the acts or omissions of parties that Premier
16   neither controlled nor had a legal right to control, and such alleged violations were not
17   proximately or otherwise caused by any act, omission, or other conduct of Premier.
18                            EIGHTEENTH AFFIRMATIVE DEFENSE
19                                         (Failure to Mitigate)
20           If Plaintiff has suffered any damages or injury in fact, which Premier expressly denies,
21   Premier alleges that Plaintiff’s recovery is barred by her failure to mitigate, reduce, or otherwise
22   avoid damages or injuries.
23                             NINTEENTH AFFIRMATIVE DEFENSE
24                                        (Aggravation of Harm)
25           To the extent any harm exists, Premier is informed and believes and, on that basis,
26   alleges that Plaintiff’s actions have aggravated such harm, and thus, any recovery from
27   Plaintiff’s Amended Complaint for such harm should be barred or reduced accordingly.
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                                                                 PREMIER NUTRITION CORPORATION’S
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 1                               TWENTIETH AFFIRMATIVE DEFENSE
 2                              (Equitable Estoppel and Equitable Indemnity)
 3           Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrines of equitable
 4   estoppel and equitable indemnity.
 5                              TWENTY-FIRST AFFIRMATIVE DEFENSE
 6                                 (Res Judicata and Collateral Estoppel)
 7           All or some of Plaintiff’s alleged claims and issues are barred by prior judgment by the
 8   doctrines of res judicata and collateral estoppel.
 9                          TWENTY-SECOND AFFIRMATIVE DEFENSE
10                                                 (Waiver)
11           Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrine of waiver.
12                              TWENTY-THIRD AFFIRMATIVE DEFENSE
13                                          (Statute of Limitations)
14           Plaintiff’s claims and damages are barred, reduced, and/or limited by the applicable
15   statutes of limitations.
16                          TWENTY-FOURTH AFFIRMATIVE DEFENSE
17                                                 (Laches)
18           By virtue of Plaintiff’s unreasonable delay in commencing this action, which duly has
19   caused prejudice to Premier, the Amended Complaint and each purported cause of action
20   asserted therein are barred by the doctrine of laches.
21                              TWENTY-FIFTH AFFIRMATIVE DEFENSE
22                                             (Unclean Hands)
23           The Amended Complaint and each and every purported claim against Premier is barred
24   by the doctrine of unclean hands in that Plaintiff’s own actions have caused the damages
25   Plaintiff may have incurred, if any.
26

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                                                                    PREMIER NUTRITION CORPORATION’S
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 1                          TWENTY-SIXTH AFFIRMATIVE DEFENSE
 2                                             (No Actual Injury)
 3          Plaintiff is not entitled to relief under the legal theories invoked in the Amended
 4   Complaint because Plaintiff suffered no actual injury and suffered no damages.
 5                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 6                                 (Not Maintainable As Class Action)
 7          Premier alleges that this action is barred in whole or in part because Plaintiff’s claims
 8   are not maintainable as a class action.
 9                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE
10                                          (Unjust Enrichment)
11          Any award to the Plaintiff in this action would constitute unjust enrichment.
12                          TWENTY-NINTH AFFIRMATIVE DEFENSE
13                                     (Attorneys’ Fees Improper)
14          Plaintiff’s Amended Complaint fails to state a claim or set forth facts sufficient to
15   support a claim for attorneys’ fees.
16                             THIRTIETH AFFIRMATIVE DEFENSE
17                                               (Uncertainty)
18          The Amended Complaint and the cause of action therein presented are vague,
19   ambiguous, and uncertain. Premier reserves the right to add additional defenses as the factual
20   bases for each of Plaintiff’s claims and allegations becomes known.
21                           THIRTY-FIRST AFFIRMATIVE DEFENSE
22                                                 (Puffing)
23          Plaintiff’s claims are barred to the extent that any alleged deceptive statements constitute
24   puffery, and no reasonable person in Plaintiff’s position could have reasonably relied on or
25   misunderstood Premier’s statements.
26

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 1                          THIRTY-SECOND AFFIRMATIVE DEFENSE
 2                                              (Mootness)
 3          Plaintiff is not entitled to an injunction to the extent Premier has already ceased the
 4   allegedly unlawful conduct.
 5                           THIRTY-THIRD AFFIRMATIVE DEFENSE
 6                                   (Equities in Favor of Defendants)
 7          Plaintiff is barred from recovering the relief sought in the Amended Complaint because
 8   the equities weigh in favor of Premier.
 9                          THIRTY-FOURTH AFFIRMATIVE DEFENSE
10                                  (Violation of Right to Free Speech)
11          To the extent Plaintiff purports to seek equitable relief to mandate the specific content of
12   Premier’s advertising or the content of the Products labels, Plaintiff’s Amended Complaint
13   violates Premier’s right to freedom of speech under the First Amendment of the United States
14   Constitution and the Massachusetts Constitution, Part I, Article XVI.
15                           THIRTY-FIFTH AFFIRMATIVE DEFENSE
16                                                (Set-off)
17          Any recovery by plaintiff should be offset and diminished by the value to the general
18   public of the use of the Products.
19                           THIRTY-SIXTH AFFIRMATIVE DEFENSE
20                                 (Punitive Damages Are Not Available)
21          Plaintiff’s claims do not permit the recovery of punitive damages.
22                         THIRTY-SEVENTH AFFIRMATIVE DEFENSE
23                                  (Reservation of Additional Defenses)
24          Premier hereby reserves the right to amend its answer to raise additional affirmative
25   defenses as they become available or apparent to it through discovery in this matter or
26   otherwise.
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 1   WHEREFORE, having fully answered Plaintiff’s Amended Complaint, Premier prays for
 2   judgment as follows:
 3          1.      That Plaintiff takes nothing for her Amended Complaint and that the Amended
 4                  Complaint be dismissed with prejudice;
 5          2.      That the request for injunctive relief be denied;
 6          3.      That Premier be awarded its costs of suit;
 7          4.      That the request for attorneys’ fees and costs by Plaintiff and her counsel be
 8                  denied; and,
 9          5.      For such other and further relief as the Court deems just and proper.
10

11
                                                     VENABLE LLP
12    Dated: May 14, 2019                            ANGEL A. GARGANTA (163957)
                                                     JESSICA L. GRANT (178138)
13                                                   AMIT RANA (291921)
                                                     YUHAN CHI (324072)
14
                                                     By:          /s/ Angel A. Garganta
15
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 1                                 CERTIFICATE OF SERVICE
 2
            The undersigned hereby certifies that on this 14th day of May, 2019 the
 3
     foregoing document was served on all counsel of record who have consented to
 4
     electronic service via the Court’s CM/ECF system. Any other counsel of record
 5
     who have not registered as an ECF user will be served by facsimile transmission or
 6
     first class mail.
 7

 8
                                                 /s/ Angel A. Garganta
 9                                                  Angel A. Garganta
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